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               Bishop of Sacramento
            15
                                        UNITED STATES BANKRUPTCY COURT
            16                            EASTERN DISTRICT OF CALIFORNIA
                                                SACRAMENTO DIVISION
            17
               In re                                     Case No. 24-21326
            18
               THE ROMAN CATHOLIC BISHOP OF              Chapter 11
            19 SACRAMENTO,
                                                         DCN: FWP-4
            20
                             Debtor in Possession.       Date:       April 4, 2024
            21                                           Time:       10:00 a.m.
                                                         Location: Courtroom 35 (Dept. C)
            22                                           Judge:      Hon. Christopher M. Klein
            23

            24       DEBTOR’S EMERGENCY MOTION TO CONTINUE INSURANCE PROGRAMS
            25         The Roman Catholic Bishop of Sacramento (“RCBS” or “Debtor in Possession”), the Debtor
            26 in Possession in the above-captioned chapter 11 case (the “Bankruptcy Case”), hereby moves the

            27 Court (the “Motion”) for authority to continue its insurance programs.

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             1                                               JURISDICTION

             2             1.      This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and

             3 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court

             4 pursuant to 28 U.S.C. §§ 1408 and 1409.

             5                                        LEGAL BASIS FOR RELIEF

             6             2.      The statutory bases for the relief requested herein are Bankruptcy Code1 sections

             7 363, 1112(b) and 105(a).

             8             3.      Bankruptcy Courts in the Northern District of California have recently entered orders

             9 in pending diocesan cases granting substantially the same relief requested by this Motion. See In re

            10 The Roman Catholic Archbishop of San Francisco, Case No. 23-30564 (Bankr. N.D. CA October

            11 20, 2023) [ECF 228]; In re The Roman Catholic Bishop of Santa Rosa, Case No. 23-10113 (Bankr.

            12 N.D. CA June 8, 2023) [ECF 224]; In re The Roman Catholic Bishop of Oakland, Case No. 23-

            13 40523 (Bankr. N.D. CA June 9, 2023) [ECF 119].

            14             4.      Other legal grounds for the relief sought by the Motion are stated in the Supplemental

            15 Legal Authorities set forth below.

            16                                           RELIEF REQUESTED

            17             5.      By this Motion, the Debtor in Possession requests entry of an order, substantially in

            18 the form attached to the Exhibit List as Exhibit 1 filed contemporaneously herewith (the “Proposed

            19 Order”), authorizing the Debtor in Possession to:

            20                     (i)     continue administering the Insurance Programs (defined below) for the

            21       Debtor in Possession and Insurance Participating Entities (defined below), in the ordinary course

            22       of business and consistent with past practices;

            23                     (ii)    continue funding all premiums, deductibles, reserves, claims administration

            24       costs, loss prevention costs, and service fees related to Insurance Coverage (defined below) and

            25       receiving reimbursement for same;

            26

            27
                 1
            28     Unless otherwise indicated, all section references in this Motion are to 11 U.S.C. §§ 101, et seq.
                 (the “Bankruptcy Code”).
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             1                     (iii)   renew, amend, supplement, extend, purchase, or terminate Insurance

             2       Coverage (defined below) in the ordinary course of business; and

             3                      (iv)   pay any and all amounts related to the Insurance Programs (defined below)

             4       that remained unpaid on the Petition Date; provided, however, that no claims arising from, or in

             5       connection with, alleged pre-petition sexual misconduct may be paid other than pursuant to the

             6       terms of a confirmed reorganization plan or pursuant to further order of this Court.2

             7                        FACTUAL GROUNDS FOR THE RELIEF REQUESTED3

             8             6.      On April 1, 2024 (the “Petition Date”), the RCBS commenced its chapter 11

             9 reorganization case by filing a voluntary petition for relief. Pursuant to sections 1107 and 1108, the

            10 Debtor in Possession continues to operate its business and manage its property as a debtor and debtor

            11 in possession. No trustee or examiner has been requested or appointed in the Bankruptcy Case.

            12             7.      In the ordinary course of business, the Debtor in Possession maintains various forms

            13 of insurance coverage (“Insurance Coverage”) for itself and the Insurance Participating Entities.4

            14 McNamara Decl., at ¶5. As set forth below, the Debtor in Possession maintains certain third-party

            15 insurance policies and self-insurance, and it participates in a risk-sharing pool (the “Insurance

            16 Programs”).

            17             8.      The Debtor in Possession and the Insurance Participating Entities are insured for

            18 property, general liability, auto, employment practices, sensitive claims, directors and officers,

            19 equipment breakdown, earthquake, flood, cyber liability, drone, crime, student accident, and

            20 workers’ compensation coverage through multiple third-party insurers. McNamara Decl., at ¶6. A

            21 detailed description of the Debtor in Possession’s third-party insurance programs is set forth in the

            22 Declaration of Thomas McNamara filed in support of the Motion. McNamara Decl., at ¶¶7-19.

            23

            24
                 2
            25   By FWP-1, the Debtor in Possession sought modification of Local Bankruptcy Rule 9014-1(d)(5)
               to allow requests for relief to be joined in a single motion, to the extent necessary for typical first
            26 day motions.
               3
                  The factual background for the relief requested in this Motion is set forth in more detail in the
            27 Memorandum of Points and Authorities and supporting Declarations filed herewith.
               4
            28   The Insurance Participating Entities include certain Parishes, schools, Social Services Agencies,
               Educational Ministries, and Supporting Organizations. McNamara Decl., at ¶4.
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             1          9.      The Debtor in Possession and Insurance Participating Entities receive brokerage

             2 services for its workers’ compensation and crime policies from AJ Gallagher. McNamara Decl., at

             3 ¶22. The annual service fee for these services is approximately $26,000 for the coverage year

             4 beginning July 1, 2023, paid annually. Id. The Debtor in Possession and the Insurance Participating

             5 Entities also receive services from Gallagher Bassett Services as a third-party administrator to

             6 address and evaluate sensitive claims. McNamara Decl., at ¶23. The annual fee for these services

             7 is approximately $100,000 for the coverage year beginning November 1, 2023, paid annually. Id.

             8          10.     In addition to the third-party Insurance Programs, the Debtor in Possession maintains

             9 a self-insurance program for workers’ compensation insurance (the “SIWC”) for itself and the

            10 Insurance Participating Entities. McNamara Decl., at ¶20. The Debtor in Possession has engaged

            11 LWP Claims Solutions, Inc. (“LWP”) as the Third-Party Administrator for the SIWC program,

            12 pursuant to a Claims Servicing Agreement. McNamara Decl., at ¶24. The fee for these services is

            13 $5,000 per month. Id. The Debtor in Possession and the Insurance Participating Entities also receive

            14 services from Susan Wright as a third-party consultant to assist the Debtor in Possession in SIWC

            15 program oversight. McNamara Decl., at ¶25. Ms. Wright is paid approximately $800 per month for

            16 these services. Id.

            17          11.     The Debtor in Possession pays the premiums for the Insurance Coverage, any

            18 insurance deductibles, and any service fees and other fees related to the Insurance Programs and

            19 recovers a portion of such payments by billing each Insurance Participating Entity an allocated

            20 portion of the total cost for such Insurance Coverage. McNamara Decl., at ¶28. The amount billed

            21 to each Insurance Participating Entity takes various factors into account to fairly allocate costs and

            22 risk and ensure sufficient funding. Id. In addition to its allocated premiums, the RCBS includes in

            23 each Insurance Participating Entity’s allocation, an administrative fee to recover certain costs,

            24 including broker’s fees, property related services, legal, finance, human resources, security, child

            25 safety protection, and to account for retention and self-insurance coverages. Id. The allocations

            26 and billing to the Insurance Participating Entities generally occurs in July of each year and is

            27 remitted to RCBS by each Insurance Participating Entity over the course of the year. Id. Although

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             1 the timing of the payments received from the Insurance Participating Entities varies, the full amount

             2 billed is due by the end of July each year. Id.

             3          12.     Currently, the outstanding estimated deductible payments for the RCBS and the

             4 Insurance Participating Entities for prepetition events total $2.15 million, which, pursuant to the

             5 Debtor in Possession’s current insurance policies, could be a basis for its insurers to demand

             6 payment of as a condition of continued coverage. McNamara Decl., at ¶29. The amount attributable

             7 to the RCBS is approximately $106,000 (approximately $71,000 for worker’s compensation self-

             8 insurance insurance and $35,000 for property insurance). The balance is attributable to the other

             9 Insurance Participating Entities (approximately $1.77 million for worker’s compensation self-

            10 insurance and $375,000 for property insurance). Id.

            11          13.     Approximately $100,000 of insurance contributions, deductibles, reserves and

            12 service fees related to prepetition events or claims may need to be paid within the first 30 days after

            13 the Petition Date. It is likely that other deductible payments will come due for prepetition events as

            14 well. McNamara Decl., at ¶30.

            15          14.     In the ordinary course of the Debtor in Possession’s business and pursuant to the

            16 Insurance Programs, all of these payments are paid from the Debtor in Possession’s self-insurance

            17 reserves, which are held in trust pursuant to the service agreements for that purpose. McNamara

            18 Decl., at ¶31.

            19          15.     The relief requested by the Motion includes payment of all premiums, deductibles,

            20 reserves, claims administration costs, loss prevention costs, and service fees related to Insurance

            21 Coverage, and receiving reimbursement for same. In light of the requirements under the Bankruptcy

            22 Code, including the operating guidelines issued by the United States Trustee, the Debtor in

            23 Possession submits that permitting it to maintain its Insurance Coverage is essential to its estate.

            24                            SUPPLEMENTAL LEGAL AUTHORITIES

            25          16.     The relief requested by this Motion is further supported by the following authorities

            26 as set forth in the Memorandum of Points and Authorities filed herewith. Pursuant to Local

            27 Bankruptcy Rule 9014-1(d)(3), citation to these authorities are as follows:

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             1          a.     U.S. Trustee Guidelines: United States Trustee Chapter 11 Operating and Reporting

             2                 Guidelines for Debtors in Possession, Section 6 – Maintenance and Proof of

             3                 Insurance.

             4          b.     Section 363 / Ordinary Course / Sound Business Purpose: In re Montgomery Ward

             5                 Holding Corp., 242 B.R. 147 (D. Del. 1999); In re Phoenix Steel Corp., 82 B.R. 334

             6                 (Bankr. D. Del. 1987); In re Johns-Manville Corp, 60 B.R. 612 (Bankr. S.D.N.Y.

             7                 1986); In re Tower Air, Inc., 416 F.3d 229 (3rd Cir. 2005).

             8          c.     Section 105 / Doctrine of Necessity: In re Columbia Gas Sys., Inc., 171 B.R. 189

             9                 (Bankr. D. Del. 1994); In re Penn Cent. Transp. Co, 467 F.2d 100 (3d Cir. 1972);

            10                 Burchinol v. Cent. Wash. Bank (In re Adam’s Apple, Inc.), 829 F.2d 1484 (9th Cir.

            11                 1987); In re B & W Enters., Inc., 713 F.2d 534 (9th Cir. 1983); In re Ionosphere

            12                 Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989); In re Just for Feet, Inc., 242

            13                 B.R. 821 (Bankr. D. Del. 1999); In re Gulf Air, 112 B.R. 152 (Bankr. W.D. La. 1989).

            14          d.     Similar Chapter 11 Cases: In re Roman Catholic Diocese of Harrisburg, No. 20-

            15                 00599 (Bankr. M.D. Pa. March 16, 2020); In re The Norwich Roman Catholic

            16                 Diocesan Corporation, No. 21-20687 (Bankr. D. Conn. Sept. 13, 2021); In re The

            17                 Roman Catholic Church of the Archdiocese of New Orleans, No. 20-10846 (Bankr.

            18                 E.D. La. June 22, 2020); In re The Roman Catholic Diocese of Rockville Centre, New

            19                 York, No. 20-12345 (Bankr. S.D.N.Y. Nov. 17, 2020).

            20                                           CONCLUSION

            21          WHEREFORE, the Debtor in Possession respectfully requests entry of the Proposed Order,

            22 pursuant to sections 363, 1112(b), and 105 of the Bankruptcy Code, as follows:

            23          1.     Authorizing the Debtor in Possession to continue administering the Insurance

            24 Programs for the Debtor in Possession and Insurance Participating Entities, in the ordinary course

            25 of business consistent with past practices, including the use of AJ Gallagher, Gallagher Basset, LWP

            26 and Ms. Wright in their capacity as broker, third-party administrators, or consultants

            27 (“Administrators”) of the Insurance Programs.

            28 ///

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             1          2.     Authorizing the Debtor in Possession in the ordinary course of business to continue

             2 funding all premiums, contributions, deductibles, reserves, and service fees related to Insurance

             3 Coverage and receiving reimbursement for same from participants in the Insurance Programs;

             4          3.     Authorizing the Debtor in Possession in the ordinary course of business to renew,

             5 amend, supplement, extend, purchase, or terminate Insurance Coverage in the ordinary course of

             6 business;

             7          4.     Authorizing the Debtor in Possession and the Administrators to pay any and all

             8 amounts related to the Insurance Programs that remained unpaid on the Petition Date and to continue

             9 to pay any pre-petition and post-petition claims, premiums, deductibles, defense costs, obligations,

            10 reimbursements and administrative costs related to the Insurance coverage, in the ordinary course

            11 of business and in their sole discretion; provided, however, that no claims arising from, or in

            12 connection with, alleged pre-petition sexual misconduct may be paid other than pursuant to the terms

            13 of a confirmed reorganization plan or pursuant to further order of this Court; and

            14          5.     For such other and further relief as the Court deems just and proper.

            15 Dated: April 1, 2024

            16                                      FELDERSTEIN FITZGERALD
                                                    WILLOUGHBY PASCUZZI & RIOS LLP
            17

            18                                      By /s/ Paul J. Pascuzzi
                                                       PAUL J. PASCUZZI
            19                                         JASON E. RIOS
                                                       THOMAS R. PHINNEY
            20                                         Proposed Attorneys for The Roman Catholic
            21                                         Bishop of Sacramento

            22 Dated: April 1, 2024

            23                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
            24                                      By /s/ Ori Katz
            25                                         ORI KATZ
                                                       ALAN H. MARTIN
            26                                         Proposed Attorneys for The Roman Catholic
                                                       Bishop of Sacramento
            27

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